Appendix:O-"s ECF No. 37-15, PagelD.1600 Filed 10/07/24 Page 1 of 2

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Dispute Results (Continued)

Before Dispute
JPMCB CARD Partial Acct # 464018205119.... Status (Jul 2021) Account charged off.
PO BOX 15369 WILMINGTON DE 19850; (800) 945 2000 a written off. $9,772 past due as of May
2023.
Date opened Terms Recent balance Payment history: Jun 2016 - May 2023
Feb 2009 Not reported $9,772 as of May 2023
Address ID # Monthly payment —‘ This account is SO eee - a oe ee if
0109768569 Not reported scheduled to continue on 7023 VBoOoae Ree
Type Credit limit or record until Sep 2027. 2022 se
Credit Card original amount Comment: 2021

2) (it Cw CEs CS
Responsibility «$8,000 Account closed at 290 (SNS AURE ei ESS RATED
individual High balance gf 019 Qe SE ONT a TED
$9,772 Saris
This item was updated 2018 vit} sb fy Clelele by tlarel ise]
Tom Our processing ot 2017 QS Sa TES aise TEES

your dsputein May zone
ee __ayet ote ss ae eisai wine a ial
Account Balance $9,772 $9,614
Date Payment Received 11.17.20. 11.17.20
Scheduled Payment Amount $256 $283
Actual Amount Paid No Data No Data

Between May 2021 and Jun 2021, your credit limi/high balance was $8,000

After Dispute
( :

JPMCB CARD Partial Acct # 464018205119... Status (Jul 2021) Account charged off.

PO BOX 15369 WILMINGTON DE 19850; (800) 945 2000 $9,772 written off, $9,772 past due as of Jun

2023.

Date opened Terms Recent balance Payment history: Jul 2016 - Jun 2023

Feb 2009 Not reported $9,772 as of Jun 2023

Address ID # Monthly payment This account is a een aa ae oo Se SS eo

0109768569 Not reported scheduled to continue on mee BSoOowowcag ; :

Original creditor Credit limit or record until Sep 2027. ce ry G

L original amount Comment: ie Ge eG Tp ere) c r

Type ree — ae 200 QRS COLYSss sr meee

cereal High balance Soest «2010 TNS ae

' $9,772
en This item was updated 2018 (QSAR SEIN oN elses nase Su
from our processing of 2017 QS: SRE OTE Nets Fs aia a ease
your dspate nA 2023. sang

mat a 2
Account Balance $9,772 ‘
Date Payment Received 11.17.20 '
Scheduled Payment Amount $256 {
Actual Amount Paid NOU ne i
As of Jun 2021 your credit balance was $8,000 {

If the reinvestigation does not resolve your dispute, you have the right to add a statement of up to 100 words to your file disputing the accuracy or
completeness of the information.

If you provide a consumer statement that contains medical information related to service providers or medical procedures, then you expressly consent
to Experian including this information in every credit report we issue about you. You may contact the company that reports the information to us and
dispute it directly with them. If you wish to obtain documentation or written verification concerning your accounts, please contact your creditors
directly. You may provide us additional information or documents about your dispute to help us resolve it by visiting www.experian.com/upload. You
may also mail your information to Experian, P.O. Box 9701, Allen, Texas 75013.

You may file a complaint about Experian or the company reporting the item, with the Consumer Financial Protection Bureau or your State Attorney
General's office. If there has been a change to your credit history resulting from our reinvestigation, or if you add a consumer statement. you may
request that Experian send an updated report to those who received your report within the last two years for employment purposes, or within the last
six months for any other purpose (the past 12 months for residents of Colorado, Maryland or New York), or within the last year for any
non-employment purpose under the California Investigative Consumer Reporting Agencies Act. If you send a request to have your results sent to past
recipients of your credit report, please designate the organization's name and address. In the event an organization is not specifically designated, we
will generally default to sending only to companies that have requested your credit information as a result of an action you took, such as applying for
credit, insurance, employment or apartment rental. If you request to have your results sent to past recipients of your investigative consumer report,
you have the right to designate which entities you wish to receive the updated report and which entities you do not wish to receive the update. if
interested, you may also request a description of how the reinvestigation was conducted along with the business name, address and telephone
number (if reasonably available) of the furnisher of information. For frequently asked questions about your credit report, please visit

LOR RATA RAD KATRINA BERGUNDER Report # 1890-4786-29 for 06/07/23 page 2 of 6

